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“GF
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN | [LL E
SOUTHERN DIVISION
APR 15 2025
CLERK'S OFFICE
UNITED STATES OF AMERICA, DETROIT
Plaintiff, Criminal No. 22-cr-20504
VS. Honorable Johnathan J.C. Grey
AWS MOHAMMED NASER, Violations:

18 U.S.C. § 2339B(a)(1)
18 U.S.C. § 922(g)(1)
Defendant.

THIRD SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:

INTRODUCTION

Islamic State of Iraq and Al-Sham (ISIS)

1. On or about October 15, 2004, the United States Secretary of State
designated al Qa’ida in Iraq (““AQI”), then known as Jam’ at al Tawhid wa’al-Jihad,
as a Foreign Terrorist Organization (“FTO”) under Section 219 of the Immigration
and Nationality Act (the “JNA”) and as a Specially Designated Global Terrorist
entity under section 1(b) of Executive Order 13224.

2. In October 2006, The Islamic State of Iraq (“ISI”) was announced, and
Abu Omar al-Baghdadi was announced as the Amir al-Mu’mineen (Commander of

the Faithful).
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3. On or about December 11, 2012, the United States Secretary of State
amended the designation of AQI as an FTO under Section 219 of the Immigration
and Nationality Act and as a Specially Designated Global Terrorist entity under
section 1(b) of Executive Order 13224 to add the following groups as aliases of AQI:
al-Nusrah Front, Jabhat al-Nusrah, the Victory Front, and Al-Nusrah Front for the
People of the Levant.

4. On or about May 15, 2014, the United States Secretary of State
amended the designation of AQI as an FTO under Section 219 of the INA and as a
Specially Designated Global Terrorist entity under section 1(b) of Executive Order
13224 to add the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary
name. The Secretary also added the following aliases to the FTO listing: the Islamic
State of Iraq and al-Sham (i.e., “ISIS”——which is how the FTO will be referenced
herein), the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-
Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media
Production. On that date, Al-Nusrah Front, also known as Jabhat al-Nusrah, also
known as Jabhet al-Nusra, also known as The Victory Front, also known as Al
Nusrah Front for the People of the Levant, was removed from the list of AQI aliases.

5. On or about September 21, 2015, the United States Secretary of State
added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date,

ISIS remains a designated FTO.
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COUNT ONE

18 U.S.C. § 2339B(a)(1)
(ATTEMPTING TO PROVIDE MATERIAL SUPPORT AND RESOURCES TO A FOREIGN
TERRORIST ORGANIZATION)

On an exact date that is unknown, but by at least 2012, through at least 2013,
both dates being approximate and inclusive, in the Eastern District of Michigan and
elsewhere, AWS MOHAMMED NASER, did knowingly attempt to provide
material support and resources, including personnel (including himself) and services
to a foreign terrorist organization, the Islamic State of Iraq and al-Sham, known at
that time as al Qa’ ida in Iraq, but hereinafter referred to as “ISIS,” which, at all times
relevant to this Indictment, was designated by the United States Secretary of State
as a foreign terrorist organization, knowing that ISIS was a designated foreign
terrorist organization and that ISIS engages and has engaged in terrorist activity and
terrorism.

Among other things, as part of the charged offense:

1. Between at least March 2011 and January 2013, NASER maintained a
YouTube channel account, which contained the following description:

Jihad for the sake of Allah is all i want in this life. And if i get
Martydom i’ll ask Allah if i can go Back and do it Agian.
Occupation: Full time Mujahd A.K.A Slave of Allah

Companies: Mujahdeen Sniper.

2. On July 15, 2011, NASER posted a comment using his YouTube social

media account: “i’m making hijrah insha allah. i’m currently selling my house. as

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soon as i seel it i’m moving over seas. these kuffar won't even let anyone give dawah
in public. true Kuffar here in the U.S brother may allah let the earth swallow them
and the skys crush them.”

3. On December 7, 2011, during a telephone call, NASER and PERSON
A discussed traveling together from the United States to Jordan and Iraq. NASER
told PERSON A, “J can’t even talk to my family about some things, you know? . . .
my family is scared as Hell of me bro.”

4. On January 5, 2012, NASER purchased a Vortex SPRC SPARC Red
Dot sight-mounted scope, a Bushnell Equinox X650 Digital Night Vision with
Mluminator, a Barska Gladiator Spotting Scope, and an ESS Advancer SR Goggles.

5. On January 13, 2012, PERSON A traveled from Tampa, Florida, to
Detroit Metropolitan Airport (DTW). NASER picked up PERSON A at DTW, and
PERSON A stayed at NASER’s home.

6. On January 21, 2012, NASER and PERSON A traveled to O’Hare
International Airport in Chicago, Illinois. PERSON A successfully departed the
United States bound for Erbil, Iraq via Istanbul, Turkey. NASER was not able to
board.

7. On February 11, 2012, NASER successfully departed the United States

bound for Erbil, Iraq, via Istanbul, Turkey, and joined PERSON A.
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8. On March 20, 2012, NASER and PERSON A together visited Mosul,
Iraq.

9. Between April 2012 and September 2012, PERSON A traveled from
Iraq into Syria, via several other countries, including Jordan and Lebanon.

10. In August 2012, NASER returned to the United States from Iraq with
an Iraqi passport, utilizing the name “AWS MOHAMMED NASER AL-OGAIDI.”

11. Between approximately September 2012 and December 2012, NASER
and PERSON A discussed NASER’s travel to Syria to join PERSON A, who had
joined al-Nusrah Front, which was an alias of the designated FTO AQI until May
15, 2014.

12. On September 11, 2012, PERSON A emailed NASER: “J made it. Im
here now where we talked about going, the new door is open, and I have the connects
to help you get here inshaAllah, the door is open from lebanon, and turkey, i heard
turkey is easier but I came from lebanon, let me know when your ready.” PERSON
A asked NASER to bring money.

12. On September 13, 2012, NASER emailed PERSON A and replied, “/
need more time like 2 months or less.”

13. On September 14, 2012, PERSON A emailed NASER and explained
that he needed money. PERSON A stated that “when i got here i found out that the

brothers just finished a big war and their funds ran low.” PERSON A told NASER
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“so when you come inshaAllah in 2 months try to bring a good amount of money for
both of us . . it is really bad here a helicopter flys over the city every day and night
and bombs us, and everything is destroyed...we really need funds for a weapon to
take down the planes, make duah for us and come soon and come prepared, get
ready, it is real here and this place needs us more than anywhere else.” NASER
replied that “Allah knows how frustrated i am that i am not with you. if i could be
there now i would already be...I will bring what we need & more...i know 2 months
is a long time but i promise you if it is less then that i will be there.”

14. Between October 18, 2012, and November 4, 2012, NASER searched
for weapons, and viewed images and videos demonstrating weapons on the internet,
including: swords, Bowie knives, tactical knives, weapons manufactured by “Cold
Steel,” concealed weapons, a law enforcement SWAT vest, firearm ammunition, and
sniper scopes.

15. On October 24, 2012, NASER purchased a sword concealed in a cane.

16. Between October 18, 2012, and November 7, 2012, NASER searched
websites and viewed more than 100 videos, including official AQI Media videos.
Naser consumed materials depicting beheadings, stabbings, shootings, dead and
mutilated adults and children, explosions, and rockets; materials honoring and
praising Osama Bin Laden, the September 11, 2001, attacks in the United States, the

Mujahideen, and suicide bombers; materials advocating killing Americans; and
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materials encouraging supporters to go fight and supporting the establishment of an
Islamic Caliphate.

17. On October 26, 2012, NASER messaged PERSON A, “I will see you
soon” and viewed internet maps of Turkey, Syria, and Iraq.

18. On October 31, 2012, Naser purchased a “Cold Steel” Recon 1 knife
and a helmet camera.

19. On November 3, 2012, NASER searched the internet for “The Black
Flag of Islam.”

20. On November 7, 2012, NASER traveled to DTW, checked luggage, and
attempted to board a flight from Detroit, Michigan, to Erbil, Irag, via Chicago,
Illinois, and Istanbul, Turkey, with a tactical knife, a sword concealed in a cane, and
a rifle scope in his carry-on luggage.

21. Between November 10, 2012, and January 1, 2013, NASER searched
the internet for airports in Canada and Mexico, visas for Egypt, Tunisia, and
Lebanon, and for refugee and asylum seekers to Norway and Tunisia.

22. Between November 8, 2012, and January 1, 2013, NASER searched
websites and viewed more than 100 videos, including official AQI Media videos.
Naser consumed materials depicting beheadings, stabbings, shootings, dead and
mutilated adults and children, explosions, and rockets; materials honoring and

praising Osama Bin Laden, the September 11, 2001 attacks in the United States, the
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Mujahideen, and suicide bombers; materials advocating killing Americans; and
materials encouraging supporters to go fight and supporting the establishment of an
Islamic Caliphate.

23. On January 2, 2013, NASER traveled to Chicago, Illinois, and
attempted to board a flight from Chicago O’ Hare Airport bound for Beirut, Lebanon,
with $2,000 in his possession.

24. On January 3, 2013, NASER posted a video on his YouTube account
to warn jihadists that PERSON A was not a “real Muslim” under the mistaken belief
that PERSON A was a government agent or informant who was working with the
Federal Bureau of Investigation.

All in violation of Title 18, United States Code, Section 2339B(a)(1).

COUNT TWO

18 U.S.C. § 2339B(a)(1)
(ATTEMPTING TO PROVIDE MATERIAL SUPPORT AND RESOURCES TO A FOREIGN
TERRORIST ORGANIZATION)
On an exact date that is unknown, but by at least March 2016 through October
30, 2017, both dates being approximate and inclusive, in the Eastern District of
Michigan and elsewhere, AWS MOHAMMED NASER, did knowingly attempt to
provide material support and resources, including personnel (including himself) and

services to a foreign terrorist organization, to wit: the Islamic State of Iraq and al-

Sham, previously known as al Qa’ida in Iraq, hereinafter referred to as “ISIS,”

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which, at all times relevant to this Indictment, was designated by the United States
Secretary of State as a foreign terrorist organization, knowing that ISIS was a
designated foreign terrorist organization and that ISIS engages and has engaged in
terrorist activity and terrorism.

Among other things, as part of the charged offense, acts specified in Count
One, paragraphs | through 24 are fully incorporated by reference herein, as part of
Count Two, and the following additional acts:

25. In June 2016, NASER used a Twitter Account with the username
“Muslim X Muahid.”

26. On May 27, 2016, NASER created a Telegram account with the
username ISxxxIS, and the display name Abu Hamza (in Arabic).

27. On May 27, 2016, NASER created a Telegram bot with the username
ISxOnel1Bot and a display name Dabigq (in Arabic).

28. OnJune 12, 2016, NASER searched Twitter for “omar Orlando”.

29. Stored within NASER’S electronic media were explosives related
artifacts from Telegram from June and July 2016.

30. On September 28, 2016, NASER received a Telegram welcome
message from MujahideenSecretbot which stated,
“#Secrets_of the Mujahideen Channel Answering the lone wolves’ questions

Preparing the mujahideen for the battlefields.”
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31. On December 18, 2016, NASER recorded an audio (in Arabic) which
included the statement “J am the son of the Islamic State. If the mountains swayed, I
will not sway.” NASER sent this video from his ISxxxIS account to his ISKOne1 Bot
account.

32. On March 12, 2017, NASER used his [SxxxIS Telegram account to
send a text message containing instructions for the manufacture of “copper azide,”
an explosive, to his ISxOne1 Bot Telegram account.

33. By at least April 11, 2017, NASER created a Paltalk account with the
display name MuslimX1 and joined Paltalk groups dedicated to the supporters of
ISIS.

34. On April 15,2017, NASER, using MuslimX1, participated in a Paltalk
ISIS supporters group chat and asked another participant (in Arabic), “Do you know
how to make explosives?”

35. On April 15, 2017, NASER, using MuslimX1, downloaded a video
which provides step-by-step instructions (in Arabic) for (1) manufacturing the
explosive triacetone triperoxide (“TATP”)—a highly volatile material, which is
made by combining sulfuric acid, hydrogen peroxide, and acetone—and (2)
assembling an improvised explosive device with fragmentation.

36. On April 20, 2017, NASER (using MuslimX1) joined a Paltalk ISIS

supporters chatroom audio conversation. He expressed support for ISIS and

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encouraged Paltalk chat group users to extend their support for ISIS beyond the
chatroom, and to go out and walk the streets of their towns and see what they can do
to support ISIS in a real matter. NASER also stated that, in 2012, he took part in the
murder and robbery of a Christian man in Mosul, Iraq. NASER stated that he and
others watched the Christian gold shop owner for some time and then came to his
store, killed the man, stole the gold and gave it to the Mujahedin.

37. On May 10, 2017, NASER sent a video from his ISxxxIS Telegram
account to his ISxOnel Bot Telegram account. The video was labeled (in Arabic),
“Attack them O’ monotheist. The making of the simplest effective explosive charge
at home.”

38. On May 19, 2017, NASER possessed materials related to drones and
handwritten statements (in Arabic) expressing support for ISIS, including: “J am the
son of the Islamic State. If the mountains swayed, I will not sway” and “We are the
soldiers of the Caliphate, we shoot [a] word and a bullet.”

39. On July 4, 2017, NASER sent a video from his ISxxxIS Telegram
account to his ISxOnelBot Telegram account. The video was labeled (in Arabic):
“Attack where they live.”

40. On July 7, 2017, NASER sent a text (in Arabic) and image from his
ISxxxIS Telegram account to his ISxOnelBot Telegram account. The text stated,

“We renew our oath of allegiance to Caliph Abu Bakr Al-Baghdadi, by choice, to

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listen and to obey in joy and in discontent, and in good times and in bad. That we
shall not fight anyone about something, unless there is clear Blasphemy that God
proves to us; and God is a witness to what we say.”

41. In approximately September through October 2017, NASER moved his
family out of his three-bedroom residence and relocated himself to the basement of
the home.

42. On September 15, 2017, NASER (using MuslimX1) joined a Paltalk
ISIS supporters chatroom and entered a private room with user Abouhamza_10.
During their communication (in Arabic) Abouhamza_10 asked NASER if he had
been able to successfully manufacture “what I- had given you, at that uh-at that
time” and NASER responded “Yeah.” Abouhamza_10 told NASER, “Oh, good.
Okay, listen. Look, that one was just a detonator. I mean, uh-uh-it will not do much
for you. Now I will give you another recipe” and referenced a “sticky explosive
charge.” NASER and Abouhamza_10 agreed to continue their discussion on
Telegram.

43. On September 17, 2017, NASER joined a Paltalk ISIS supporters

chatroom and posted messages (in Arabic), including: “best thing is to hit the [Social

Media Company 1] company a». “A booby trapped truck would let [Social
Media Company I] quit canceling Al-Ansar [supporters]”; and “Victory or
martyrdom is victory.”

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44. On October 8, 2017, NASER (using MuslimX1) joined a Paltalk ISIS
supporters chatroom and chatted with user Abouhamza 10 (in Arabic).
Abouhamza_10 asked NASER, “you want to continue today.” When NASER
responded, “Yes my dear,” Abouhamza_10 told NASER to “call me on Telegram
and we will continue our work.”

45. On September 29, 2017, NASER (using MuslimX1) returned to the
Paltalk ISIS supporters chatroom and posted messages. When asked by a participant:
“are you isis suppurters?”, NASER replied: “yes we are.” The other participant
asked NASER “why my brother?” and NASER answered, “we muslims that’s why.”
In addition, when a participant posted (in Arabic) “Do not deprive yourself from
killing an infidel, even once in your lifetime,” NASER responded with “Amen! !!!”

46. On October 17, 2017, during a Paltalk chatroom discussion, NASER
recited the sentence (in Arabic): “I am the son of the Islamic State. If the mountains
swayed, I will not sway.” He also stated: “He [God] did not allow us to join now,
because He... wants us for something else. I mean—to join later;” and “the more
that I see the [Islamic] State in distress .. . the more my heart aches for it. No, I
would never expect anything bad from God. .. I am worried that... IT am not...
with them, I mean. I am not there... This is the only thing that... one might be
worried about. I mean, even if the cause ends, ... I would be sorry that I did not end

with them. Do you understand me? I would not want to keep on existing . . . while

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the [Islamic] State does not exist anymore, for example. We were dreaming about
this [Islamic] State, my brothers. I swear by God that we were dreaming about it.
Okay? We were dreaming about it. And now it has become a reality.”

47. On October 30, 2017, NASER possessed a destructive device,
including the following components: precursor chemicals, measuring cups and
glassware, coffee filters, a syringe, gloves, a glue gun and sticks, wooden dowels,
digital timers, 2-way radios, Christmas tree lights, matches, electronic components
and wires, BBs, hunting pellets, CO2 containers, and a round of .38 caliber
ammunition. Naser also possessed tactical and other knives, a stun gun, a sword
concealed in a cane, drones, and drone-related materials.

All in violation of Title 18, United States Code, Section 2339B(a)(1).

COUNT THREE

18 U.S.C. § 922(g)(1)
(FELON IN POSSESSION OF A DESTRUCTIVE DEVICE)

On or about October 30, 2017, in the Eastern District of Michigan, the
defendant, AWS MOHAMMED NASER, knowing that he had been convicted of at
least one crime punishable by imprisonment for a term exceeding one year, did
knowingly possess, in and affecting interstate commerce, a firearm, to wit: a
destructive device, more specifically, a combination of parts either designed or

intended for use in converting any device into any destructive device and from which

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a destructive device may be readily assembled, all in violation of Title 18, United

States Code, Section 922(g)(1).

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FORFEITURE ALLEGATION

18 U.S.C. §§ 924(d)(1), 981(a)(1)(C), (G), and 28 U.S.C. § 2461(c)
(CRIMINAL FORFEITURE)

The allegations contained in this Superseding Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeiture pursuant
to Title 18, United States Code, Sections, 924(d)(1), 981(a)(1)(G), as all
incorporated through Title 28, United States Code, Section 2461(c), and Federal
Rule of Criminal Procedure 32.2.

Pursuant to Title 18, United States Code, Sections 981(a)(1)(G) upon
conviction of the offense set forth in Counts One and Two of the Superseding
Indictment, in violation of Title 21, United States Code, Section 2339B(a)(1), the
defendant, AWS MOHAMMED NASER, shall forfeit to the United States of
America:

(i) All assets, foreign or domestic, of defendant AWS MOHAMMED
NASER, as an individual, entity, or organization engaged in planning
or perpetrating a Federal crime of terrorism against the United States,
citizens or residents of the United States, or their property, and all
assets, foreign or domestic, affording defendant AWS MOHAMMED
NASER a source of influence over any such entity or organization;

(ii) All assets, foreign or domestic, acquired or maintained by the

defendant, AWS MOHAMMED NASER, with the intent and for the
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purpose of supporting, planning, conducting, or concealing his Count
One offense;
(iii) All assets, foreign or domestic derived from, involved in, or used or
intended to be used to commit his Count One offense; or
Pursuant to Title 18, United States Code, Section 924(d) upon conviction of
the offense set forth in Count Three the Superseding Indictment, in violation of Title
18, United States Code, Section 922(g)(1), defendant AWS MOHAMMED NASER
shall forfeit to the United States his interest in any firearm or ammunition involved
in the offense.
If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

divided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p).

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
Grand Jury Foreperson

JULIE A. BECK
Acting United States Attorney

s/Michael C. Martin

MICHAEL C. MARTIN

Unit Chief

Assistant United States Attorney

s/Saima S. Mohsin s/Dmitriy Slavin
SAIMA S. MOHSIN DMITRIY SLAVIN
Assistant United States Attorney Trial Attorney

United States Department of Justice
s/Jerome Gorgon

JEROME GORGON
Assistant United States Attorney

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United States District Court Criminal Case Cover Sheet Case Number
Eastern District of Michigan

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:

LI Yes No AUSA’s Initials: Sy

Case Title: USA v. AWS Mohammed Naser

t ~
County where offense occurred : A) G4 W“ C _
'
Check One: Felony [IMisdemeanor _lPetty
Indictment/ Information --- no prior complaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: 22-cr-20504

Judge: Johnathan J. C. Grey

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)
Aws Mohammed Naser 18 U.S.C. § 2339B(a)(1)

18 U.S.C. § 2339B(a)(1)
18 U.S.C. § 922(g)(1)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

April 15, 2025
Date

Saima S. Mohsin
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone: (313) 226-9163

Fax:

E-Mail address: Saima.Mohsin@usdoj.gov
Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same

or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

B/16

